  Fill in this information to identify the case:
  Debtor 1
                  Anna McHenry
  Debtor 2

  (Spouse, if filing)

  United States Bankruptcy Court for the:       Middle District of Pennsylvania
                                                                        (State)
  Case number 4:23-bk-00255-MJC__




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses and Charges                                                                          12/16

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

Filing this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1

 Name of creditor:          Wilmington Savings Fund Society, FSB, d/b/a              Court claim no. (if known):   4
                            Christiana Trust as Trustee for PNPMS Trust III


 Last four digits of any number you use to
 identify the debtor's account:                         XXXXXX1806


 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
                No
      X
                Yes. Date of the last notice:


  Part 1:         Itemize Postpetiton Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do
not include any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If
the court has previously approved an amount, indicate that approval in parentheses after the date the amount was
incurred.

      Description                                                                 Dates incurred                                  Amount


   1. Late charges                                                                                                      (1)   $ 0.00
   2. Non-sufficient funds (NSF) fees                                                                                   (2)   $ 0.00
                                                                                  04/06/2023 – Plan Review                        475.00
   3. Attorney Fees                                                               04/18/2023- Obj to Plan               (3)   $ 550.00
   4. Filing fees and court costs                                                                                       (4)   $ 0.00
   5. Bankruptcy/Proof of claim fees                                              04/14/2023 – Proof of Claim           (5)   $ 725.00
   6. Appraisal/Broker's price opinion fees                                                                             (6)   $ 0.00
   7. Property inspection fees                                                                                          (7)   $ 0.00
   8. Tax advances (non-escrow)                                                                                         (8)   $ 0.00
   9. Insurance advances (non-escrow)                                                                                   (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                         (10)   $ 0.00
  11. Other. Specify:                                                                                                  (11)   $
  12. Other. Specify:                                                                                                  (12)   $
  13. Other. Specify:                                                                                                  (13)   $
  14. Other. Specify:                                                                                                  (14)   $



Official Form 410S2                         Notice of Postpetition Mortgage Fees, Expenses, and Charges                                Page 1
The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
        Case 4:23-bk-00255-MJC
See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1.
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Debtor 1     Anna McHenry                                                             Case Number (if known)   4:23-bk-00255-MJC
             First Name                Middle Name         Last Name



Part 2:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box

     I am the creditor.
       I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Michael Clark                                                   Date 06/01/2023
     Signature


 Print:                   Michael Clark                    Bar No.: 202929_ Title       Bankruptcy Attorney
                          First name         Middle Name   Last name

 Company                  RICHARD M. SQUIRE & ASSOCIATES, LLC

 Address                  115 West Avenue, Suite 104,
                          Number                Street

                          Jenkintown, PA 19046
                          City                  State      Zip Code


 Contact phone            (215) 886-8790                   Email:      mclark@squirelaw.com




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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

In Re: Anna McHenry aka Anna Marie McHenry, aka Chapter: 13
Anna M McHenry
                                                Bankruptcy No.: 4:23-bk-00255-MJC
                                     Debtor                    11 U.S.C. § 362



Wilmington Savings Fund Society, FSB, d/b/a Christiana
Trust as Trustee for PNPMS Trust III
                                                     Movant
                             vs.
Anna McHenry aka Anna Marie McHenry, aka Anna M
McHenry
                                                      Debtor
                             and
Jack N Zaharopoulos
                                                     Trustee
                                              RESPONDENTS


                                               CERTIFICATE OF SERVICE

         I hereby certify that I am over 18 years of age; and that service upon all interested parties, indicated below, was
made by sending true and correct copies of the Notice of Postpetition Mortgage Fees, Expenses, and Charges electronically
and/or via First Class Mail, postage prepaid.

Date Served:        06/01/2023

Jack N Zaharopoulos
Chapter 13 Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101

Anna McHenry
324 Main Streeet
Lopez, PA 18628




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Patrick James Best
ARM Lawyers
18 North 8th Street
Stroudsburg, PA 18360

        I hereby certify the foregoing to be true and correct under penalty of perjury.

                                                      Respectfully submitted,

                                                       /s/ Michael Clark
                                                      Richard M. Squire, Esq.
                                                      Michael J. Clark, Esq.
                                                      One Jenkintown Station, Suite 104
                                                      115 West Avenue
                                                      Jenkintown, PA 19046
                                                      215-886-8790
                                                      215-886-8791 (FAX)
                                                      rsquire@squirelaw.com
                                                      mclark@squirelaw.com




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